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                        UNITED STATES DISTRICT COURT

                     SOUTHERN DISTRICT OF CALIFORNIA


                                                        CASE NO. 12CR4478-JLS
UNITED STATES OF AMERICA,
                Plaintiff                               JUDGMENT AND ORDER OF DISMISSAL OF
          vs.                                           INFORMATION

CARLOS RODRIGUEZ-CASTRO

                       Defendant


       Upon motion of the UNITED STATES OF AMERICA and good cause appearing,


       IT IS SO ORDERED that the information in the above-entitled case be dismissed with

prejudice, the bond be exonerated, and passport released by Pretrial if held.


       IT IS SO ORDERED.


       DATED: 11113114




                                              United States Magistrate Judge
